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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                                  Camden, NJ

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 LAUREN GOMMEL,                        :
                                       :
                         Plaintiff(s), :
                                       : Case No.: 1:20-cv-02319-RBK-KHW
 v.                                    :
                                       :
 PRO CUSTOM SOLAR, LLC d/b/a           : JURY TRIAL DEMANDED
 MOMENTUM SOLAR,                       :
                                       :
                         Defendant(s).

                         JOINT PROPOSED DISCOVERY PLAN

1.    Set forth the name of each attorney appearing, the firm name, address and telephone
      number and facsimile number of each, designating the party represented.

      Travis B. Martindale-Jarvis, Esquire
      SWARTZ SWINDLER LLC
      1101 Kings Hwy N Ste 402
      Cherry Hill, NJ 08034
      Attorney for Plaintiff

      William K. Pelosi, Esquire
      LITCHFIELD CAVO LLP
      457 Haddonfield Road, Suite 200
      Cherry Hill, NJ 08002
      Attorney for Defendant


2.    Set forth a brief description of the case, including the causes of action and defenses
      asserted.

      Plaintiff’s Allegations:

              Plaintiff alleges that Defendant illegally fired her because she informed
      Defendant that her mother had been diagnosed with stage 4 cancer and that she
      required time off from work to provide physical and psychological care for her
      terminally ill mother. Rather than provide Plaintiff the required leave, Defendant
      dramatically reduced the quality of her sales leads so much so that Plaintiff stopped
      earning commissions entirely. Then Defendant fired Plaintiff because of her request
      for FMLA and NJFLA qualifying leave. This is so despite the fact, to that point,
      Plaintiff was an excellent salesperson who performed exceptionally well under
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      Defendant’s own sales metrics. Plaintiff further alleges that Defendant’s termination
      of her employment for “insufficient sales” was pretext for Defendant’s unlawful
      retaliation against her for requiring time off to care for her terminally ill mother.

      Defendant’s Response:

              Defendant responds that Plaintiff did not use the procedure provided to
      request FMLA or NJFLA leave. Nevertheless, Defendant offered Plaintiff all the
      time off that she needed to care for her mother. It makes no difference to Defendant
      how much time Plaintiff takes off. Defendant does not subsidize benefits and only
      paid Plaintiff when she turned leads into sales. Defendant does not, however, want
      its leads to be wasted. Accordingly, the percentage of leads that are turned into sales
      is an important metric on which Plaintiff was measured. The percent of leads
      Plaintiff turned into sales collapsed prior to Plaintiff informing Defendant that she
      needed time off to care for her mother. This continued for several months. Such a
      collapse in sales relative to leads indicates the use, by an employee, of Defendant’s
      leads to sell for a competitor. (Companies in the industry generally pay more for
      sales that are not derived from the leads they provide, so Plaintiff could boost her
      income considerably by, in effect, stealing Defendant’s leads.) Accordingly, because
      of the low success rate and suspected theft, Defendant terminated Plaintiff’s
      employment.

3.    Have settlement discussions taken place? Yes X      No

      (a)    What was plaintiff's last demand?

             (1)    Monetary Demand: COMBINED $115,000
             (2)    Non-monetary Demand:

      (b)    What was defendant's last offer?

             (3)    Monetary offer: COMBINED $2,500
             (4)    Non-monetary offer:

4.    The parties [HAVE     have not] met pursuant to Fed. R. Civ. P. 26(f):

5.    The parties [have        HAVE] exchanged the information required by Fed. R. Civ. P.
      26(a)(1). If not, state the reason therefor.

6.    Explain any problems in connection with completing the disclosures required by Fed.
      R. Civ. P. 26(a)(1)

7.    The parties [have       HAVE NOT] conducted discovery other than the above
      disclosures. If so, describe.

8.    Proposed joint discovery plan:

      (a)    Discovery is needed on the following subjects:
                                                2
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            Defendant’s performance metrics that applied to Plaintiff’s position,
            including those used in the selection of Plaintiff for termination.

            Manner in which Defendant assigned leads, generally and with respect to
            Plaintiff.

            Subsequent to her mother being diagnosed as alleged in the Complaint, the
            timing and manner of Plaintiff’s requests for time off and her time taken off.

      Plaintiff’s performance:

            The performance of Plaintiff’s comparators under Defendant’s performance
            metrics.

            Plaintiff’s request for leave to care for her mother and all communications
            relating to same.

            Plaintiff’s job and performance history prior to working for Momentum.

            Plaintiff’s job and performance history subsequent to her employment at
            Momentum.

            Any situation where Plaintiff sold a product or service aided by a lead, but
            was not, at the time, selling on behalf of, and for the benefit of, the employer
            that generated the lead.

            Whether taking time off, with the durations and frequencies claimed by
            Plaintiff, would adversely affect the metrics of a Momentum employee, the
            decline of which lead to plaintiff’s termination.

            Whether taking time off, with the durations and frequencies claimed by
            Plaintiff, would adversely affect Momentium financially.

      (b)   Discovery [SHOULD should not) be conducted in phases or be limited to
            particular issues. Explain. The Parties anticipate Mediation pursuant
            to L. Civ. R. 301.1. Accordingly, though the parties intend to exchange
            documents and information in anticipation of mediation, formal
            discovery is not anticipated to start until 60 Days following the
            Scheduling Conference.

      (c)   Proposed schedule:

            (1)    Fed. R. Civ. P. 26 Disclosures         6/25/2020

            (2)    E-Discovery conference pursuant to L. Civ. R. 26.1(d) 6/25/2020

            (3)    Service of initial written discovery   9/19/2020

            (4)    Maximum of 25 Interrogatories by each party to each other party.

            (5)    Maximum of 10 depositions to be taken by each party.
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              (6)     Motions to amend or to add parties to be filed by 11/2/2020

              (7)     Factual discovery to be completed by 1/30/2021

              (8)     Plaintiff's expert report due on 2/15/2020

              (9)     Defendant's expert report due on 3/15/2021

              (10)    Expert depositions to be completed by 4/15/2021

              (11)    Dispositive motions to be filed by 5/14/2021

       (d)    Set forth any special discovery mechanism or procedure requested.

              A pretrial conference may take place on TO BE DETERMINED

       (e)    Trial date: TO BE DETERMINED (XXX Jury Trial; Non-Jury Trial).

9.     Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
       problems with out-of-state witnesses or documents, etc.)? Yes No XXX

10.    Do you anticipate any issues about disclosure or discovery of electronically stored
       information, including the form or forms in which it should be produced? Yes No XXX

        If so, how will electronic discovery or data be disclosed or produced? Electronic
        Documents may be produced in PDF form (OCR readable) where possible.
        Metadata for specific documents available upon request.

11.    Do you anticipate entry of a Discovery Confidentiality Order? See L.Civ.R. 5.3(b) and
       Appendix S. Yes XXX          No

12.    Do you anticipate any discovery problem(s) not listed above? Describe. Yes No XXX

13.    State whether this case is appropriate for voluntary arbitration (pursuant to Local Civil
       Rule 201.1 or otherwise) or mediation (pursuant to Local Civil Rule 301.1 or otherwise).
       If not, explain why and state whether any such procedure may be appropriate at a later
       time (i.e., after exchange of pretrial disclosures, after completion of depositions, after
       disposition or dispositive motions, etc.).

This case is appropriate for mediation. A major motivator is the avoidance of the time and
expense that attends discovery. The parties anticipate beginning with the self-initiated
production of limited information to support their respective case narratives. The parties
will then work with the mediator to see if they can arrive at an agreed to case value, with or
without the production of additional information.

14.    Is this case appropriate for bifurcation? Yes    No XXX

15.    An interim status/settlement conference (with clients in attendance), should be held in late
       April or early May 2021.

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16.   We [do DO NOT] consent to the trial being conducted by a Magistrate Judge.

17.   Identify any other issues to address at the Rule 16 Scheduling Conference.


                                                  Respectfully submitted,

                                                  LITCHFIELD CAVO LLP
                                                  An Illinois Limited Liability Partnership


                                                  /s/ William K. Pelosi
                                                  William K. Pelosi, Esquire
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                                                  Attorneys for Defendants,
                                                  Pro Custom Solar, LLC d/b/a
                                                  Momentum Solar


                                                  SWARTZ SWIDLER LLC


                                                  /s Travis B. Martindale-Jarvis
                                                  Travis B. Martindale-Jarvis, Esq.
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                                                  tmartindale@swartz-legal.com
                                                  rswartz@swartz-legal.com

Date: June 25, 2020




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 MOMENTUM SOLAR,                       :
                                       :
                         Defendant(s).
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of June, 2020, I caused a true and correct copy of

Report of Rule 26(f) Meeting to be served upon the following counsel via electronic mail addressed

to:

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                                                    An Illinois Limited Liability Partnership

                                                    /s/ William K. Pelosi
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                                                    Momentum Solar
